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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                        Case Nos.: 3:13cr6/RV/EMT
                                                      3:16cv402/RV/EMT
CORINE D. MOTLEY
____________________________/
                                    ORDER
      This cause comes on for consideration upon the chief magistrate judge’s Report

and Recommendation dated November 7, 2017 (ECF No. 146). The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined that

the Report and Recommendation should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The chief magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this order.

      2.     The amended motion to vacate, set aside, or correct sentence (ECF No.

140) is DENIED.
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       3.      A certificate of appealability is DENIED.

       DONE AND ORDERED this 11th day of December, 2017.



                                     /s/ Roger Vinson
                                     ROGER VINSON
                                     SENIOR UNITED STATES DISTRICT JUDGE




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